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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff,                                4:08CR3177
     vs.
                                                   MEMORANDUM AND ORDER
JOHN HENRY SUTTON,
                  Defendant.


     IT IS ORDERED:

     1)    The motion of attorney James E. Reisinger to withdraw as counsel of
           record for defendant John Henry Sutton, (filing no. 223), is granted.

     2)    Defendant’s newly retained counsel, Kirk Naylor, shall promptly notify the
           defendant of the entry of this order.

     3)    The clerk shall delete Mr. Reisinger from any future ECF notifications
           herein.

     4)    Defendant’s hearing remains set for July 26, 2012 at 4:30 p.m. before the
           undersigned magistrate judge in Courtroom 2, Robert V. Denney Federal
           Building, 100 Centennial Mall North, Lincoln, Nebraska.

     5)    The defendant, his retained counsel, and counsel for the government shall
           appear at the hearing.

     July 25, 2012.
                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
